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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         WESTERN DIVISION

TERESA BLOODMAN                                                      PLAINTIFF

v.                      CASE NO. 4:18-cv-00282-KGB

ARKANSAS SUPREME COURT COMMITTEE
ON PROFESSIONAL CONDUCT; et al                                   DEFENDANTS

     MOTION TO STAY INITIAL SCHEDULING ORDER DEADLINES
                        and DISCOVERY

      Come now Defendants, Arkansas Supreme Court Committee on Professional

Conduct (the “Committee”); Robert Stark Ligon, Executive Director of the Arkansas

Supreme Court Committee on Professional Conduct, in his official and individual

capacity; James Dunham, as Chair of the Committee; Michael Boyd, T. Benton

Smith, Tonya Patrick, Lisa C. Ballard, Karolyn Jones, Mark L. Martin, Danyelle

Walker, and Tanya R. Owen, as members of Panel A of the Committee; the

Honorable Kim Smith, in his capacity as Special Judge; the Honorable John Kemp,

as Chief Justice of the Supreme Court of Arkansas; the Honorable Robin F. Wynne,

the Honorable Courtney Hudson Goodson, the Honorable Josephine L. Hart, the

Honorable Shawn A. Womack, the Honorable Karen Baker, the Honorable Rhonda

K. Wood, as Associate Justices of the Supreme Court of Arkansas; (hereinafter

collectively referred to as “Defendants”), by and through their attorneys Attorney

General Leslie Rutledge, Deputy Attorney General Monty V. Baugh, and Assistant

Attorney General William C. Bird III, and for their Motion to Stay Initial

Scheduling Order Deadlines and Discovery, the Defendants state, as follows:

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      1.     Defendants have pending before the Court a dispositive motion on all

claims in this case. (DE 3). The motion raises threshold immunity defenses.

      2.     Plaintiff, Teresa Bloodman, filed this action against the Defendants on

April 30, 2018 (DE 1) claiming Defendants violated various Constitutional rights of

the Plaintiff related to the interim suspension of her attorney’s license.

      3.     Defendants filed their Motion to Dismiss and Brief in Support on May

29, 2018 (DE 3 and 4).

      4.     To date, Plaintiff continues to seek to serve the Defendants with the

Complaint and Summons, and in fact, per the Court’s order (DE 40), the Plaintiff

has until October 28, 2018, to serve the Defendants.

      5.     Per the Court’s Initial Scheduling Order (DE 37), the parties are to

conduct the initial Rule 26(f) Conference on or before November 5, 2018.

      6.     In the interest of judicial economy and efficiency, Defendants

respectfully request that this Court stay all deadlines set forth in the Initial

Scheduling Order (DE 37), until the Court has issued a final ruling on Defendants’

pending Motion to Dismiss.

      7.     The scheduling deadlines and discovery should be stayed until the

threshold immunity issues are finally resolved. Courts have broad discretion and

inherent power to stay discovery until preliminary questions that may dispose of a

case on its merits are determined, and the exercise of that discretion will not be

reversed absent an abuse of discretion that is prejudicial to the appealing party.




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See, e.g. Mason v. Brill, 14 Fed.Appx. 752 (8th Cir. 20010), Steele v. Weber, 278

Fed.Appx. 699 (8th Cir. 2008).

      8.     Imposing a stay would fulfill the goals of judicial economy and clearly

falls within the discretionary power granted to the Court.        At this stage of the

proceedings, a stay of discovery prevents unnecessary expenses for the State and

undue burdens on the Defendants.

      9.     This motion is being filed in good faith and not for any improper

purpose.

      10.    A brief in support is being filed with this motion and is incorporated by

reference.

      WHEREFORE, Defendants respectfully request that the Court stay the

initial scheduling order deadlines and discovery in this case pending a ruling on

their Motion to Dismiss and for all other relief to which they are entitled.

                                        Respectfully submitted,

                                        LESLIE RUTLEDGE
                                        Attorney General

                                 By:    /s/ William C. Bird III
                                        William C. Bird III, Bar No. 2005149
                                        Assistant Attorney General
                                        Arkansas Attorney General's Office
                                        323 Center Street, Suite 200
                                        Little Rock, Arkansas 72201
                                        Phone: (501) 682-1317
                                        Fax: (501) 682-2591
                                        Email: william.bird@arkansasag.gov

                                        Attorneys for Defendants




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                           CERTIFICATE OF SERVICE

       I, William C. Bird III, hereby certify that on October 23, 2018, I electronically
filed the foregoing with the Clerk of the Court using the CM/ECF system, which
shall send notification of such filing to any CM/ECF participants.



                                               /s/ William C. Bird III
                                               William C. Bird III




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